BENNETT, COLORADO, SUMMONS AND COMP! AINT

OR PENALTY ASSESSMENT

The Town of Bennett, Counties of Adams and A:apahoe

By and on behalf of the People of the State of Colorado vs.:

. SUMMONS B6/31

Agency: O+. .8°S.0. OArapahoe S.0. Other: TOB
Agency Case # CE 29-0005 “CE22- 0014

1 SCHOOL OR SAFETY ZONE (FINES DOUBLED) 0 ACCIDENT (SUMMONS) O JUVENILE (SUMMONS) Parent Info:

Date of Violation (mm/dd/yy): F / / Time of Violation: Approx. Location of Violation: : '
5 /11/ag~ 1200 hes [70 Cool ie CT
Defendant Name: (Last, First, Middle), ,, , ¥
Wi Ff nic 7
DOB: Gender: (M |) F Race: | Ht ft in Wt: Hair: Eyes: Phone H:
(mm/dd/yy) / / 1G
Address: Phone C:
10 Cocltae 6 bennett, CO 8A0F BO S60 FA FH
DL#: v ST |VehLic# ‘ST Make Model Yr Color VIN
Cls/Type
MTC VIOLATION PT ORDINANCE | VIOLATION
1204 Parked Vehicle on Where Prohibited by Signs or Markings 0 513 Curfew (10-6-20)
4205 Parked Vehicle on Wrong Side of Road 0 514 Public Park Hours (11-5-120)
1208 Parked in Handicap Designated Parking Without Authorization 0 7-2-10 Debris Prohibited/Accumulation to Constitute a Nuisance
1503 Motorized Vehicles Restricted 0 7-5-30 Duty to Cut Weeds on Property
|. 237/236 Safety Belt Required Adult(237) Child(236) 0 7-7-20¢ Animals Running at Large
Speeding (5-9 mph over posted fimit) ina mph
1101 Zone 4 7-7-70 Licensing of Dogs and Cats
1211(1)(a) | Unsafe Backing in Parking Area 1 7-7-80 Aggressive Animals
1211(1)(b}) | Backed Vehicle on Shoulder or Roadway 2 7-7-90 Vicious Animals
202(1) Drove a Defective or Unsafe Vehicle 2 8-5-10 ( ) Parking & Storage Restrictions/Recreational Equipment.
204 Failed to Display Lighted Lamps When Required 2 10-4-10 Criminal Mischief
608(1) Failed to Use Turn Signal(s) 2 10-4-50 Defacing Public/Private Property
902/3) Made U-turn Where Prohibited 3 10-4-110 Theft
1007(1a) Failed to Drive in a Single Lane (Weaving) 3 10-4-120 Shoplifting
603 Failed to Observe/Disregarded Traffic Control Signal or Device 4 10-5-30 Interference With an Educational Institution
1008/1) Following too Closely 4 10-5-40( _) Harassment
Speeding (10-19 mph over posted limit) ina mph
1101 Zone. 4 10-5-80 Assault
1402 Careless Driving 4 10-5-140 Throwing Stones, Missiles, Etc.
1409 Insurance Failed to Present Uninsured 4 10-7-30 Possession/Consumption of Alcohol bi Underage Person
Speeding (20-39 mph over posted limit) ina
1101 mph Zone 6 10-7-80 Po ion of Drug Paraphernalia
1401 Reckless Driving 0-7-100 Pe ion of Cannabis by an Underage Person
M113 3-0 | Ua law bul use of Accepssls ion (whaler)

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O PENALTY ASSESSMENT - Payable by Mail

If this box is checked, payment of your fine by mail without a court
appearance is permitted. (See back of summons for instructions). If your
payment is received by mail or in person by 5:00 pm. on the business day
before your court date, you do not have to appear in Court and the
associated penalty points will be reduced as shown on the back of this
summons. If payment is not received you must appear on the court
date indicated. Without admitting guilt, | agree to comply with the
instructions on the reverse side of this summons or penalty assessment.

x
Defendant Signature

(“SUMMONS - Mandatory Court Appearance

Without admitting guilt, | promise to appear at the time and place indicated
below. (If you are under the age of 18 at the time of the court date listed below,
you must be accompanied by a parent or legal guardian when appearing in
court.)

Defendant Signature

COURT DATE
You are summoned and ordered to appear to answer charges stated above in:
Bennett Municipal Court, 207 Muegge Way, Bennett, CO 80102
on & RR _| a_0OO cam xfiu
Warning: If you fail to appear in response to this summons as ordered, a warrant will
be issued for your arrest.

Total Fine Amount: $

Total Points
If over four (4) = Summons-Mandatory Appearance

See reverse side for point reduction provisions.

The undersigned has probable cause to believe that the defendant committed the offense(s)
against the peace and dignity of the Town of Bennett, State of Colorado and affirms that a
copy of this summons and complaint or Penalty Assessment was served upon the
defendant:

Date Issued: sla [ga~ Officer Name:fA t Bus ag : l CFO
sionstue Zo cud g—___ Badge# <5 Aa
ff.

COURT

